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  UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA


     UNITED STATES OF AMERICA                )(
                                             )(   Criminal No. 21-190 (DLF)
                       v.                    )(   Judge Friedrich
                                             )(   Motions Hearing: May 31, 2023
            ZACHARY ALAM                     )(


                       MOTION TO SUPPRESS
        CONTENTS OF TWO NOTEBOOKS FOUND IN MOTEL ROOM
          AND ANY DERIVATIVE EVIDENCE AND INFORMATION
          AND POINTS AND AUTHORITY IN SUPPORT THEREOF

       COMES NOW the defendant, Zachary Alam, by and through undersigned

counsel, and respectfully moves this Honorable Court, pursuant to the Fourth

Amendment to the United States Constitution, to suppress the contents of two notebooks

that were seized from the motel room that he had previously been arrested in and then

searched. Additionally, Mr. Alam moves the Court to suppress any evidence and

information derived from the contents of those notebooks. In support of this motion, Mr.

Alam would show:

       1.      After developing evidence that Mr. Alam may have been involved in

illegal activity related to the events at the United States Capitol on January 6, 2021, FBI

agents, armed with a warrant that had been obtained for his arrest, located Mr. Alam in a

motel room in Denver, Pennsylvania and took him into custody. This occurred on

January 30, 2021.

       2.      Sometime after the FBI agents arrested Mr. Alam and removed him from

his motel room, a magistrate judge issued a warrant authorizing law-enforcement agents

to search the motel room and seize and search various items and categories of items that



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might be located in the room. The warrant was obtained upon an application that

included an Affidavit in Support of an Application for a Search Warrant (Affidavit) that

had been sworn to by an FBI agent. The items and categories of items to be seized and

searched pursuant to the warrant were described in an attachment (“Attachment B”) that

was affixed to the warrant. Attachment B to the warrant is being submitted as an

attachment to this motion. Attachment, “Attachment B.”

       3.      Attachment B to the warrant spells out the items and categories of items to

be seized and searched by the agents executing the warrant in paragraphs lettered “a”

through “n.” In paragraph “a” of Attachment B, the agents were authorized to seize and

search “[i]tems of clothing or objects that could associate Mr. Alam with the events of

January 6.” These “items of clothing and objects” would be items of clothing and objects

that a person identified as Mr. Alam appears to be wearing and possessing in videos that

captured events inside the Capitol on January 6. See Attachment B ¶ “a”; Affidavit at

12-26. In paragraph “b” of Attachment B, the agents executing the warrant were

authorized to seize and search “[a]ny mobile phones.” In paragraph “c,” they were

authorized to seize and search “[a]ny laptop computer.” In paragraph “d,” they were

authorized to seize and search “[e]vidence concerning planning to unlawfully enter the

U.S. Capitol, including any maps or diagrams of the buildings or its internal offices.” In

paragraph “e,” they were authorized to seize and search “[e]vidence concerning unlawful

entry into the U.S. Capitol, including any property of the U.S. Capitol.” After paragraph

“e,” the remaining paragraphs (paragraphs “f” through “n”) do not identify any specific

items that may be seized and searched. Rather, they only describe general categories of




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“[e]vdience” concerning the events at the Capitol on January 6 that may be seized and

searched. For instance, in paragraph “h,” the agents are authorized to seize and search

“[e]vidence concerning the breach and unlawful entry of the United States Capitol, and

any conspiracy or plan to do so, on January 6,” and in paragraph “i,” they are authorized

to seize and search “[e]vidence concerning the riot and/or civil disorder at the United

States Capitol on January 6.”

        4.      In the affidavit that was submitted for the search-and seizure warrant, the

affiant indicated that, when the FBI agents arrested Mr. Alam in his motel room, they

noticed that there was a “spiral bound notebook” in the room. Affidavit at 32. The

affiant then stated:

        Based on my training and experience, as well as the investigation in dozens of
        other cases relating to the intrusion into the U.S. Capitol and rioting outside of it, I
        know that individuals like Alam take notes about the research, planning, and
        implementation of their crimes. There is probable cause to believe that the
        Subject Premises [the motel room] contains other such repositories of research,
        planning and implementation of the Subject Offenses [crimes in and near the
        Capitol on January 6].

Id. Nowhere in the Affidavit does the affiant provide any specific reasons for thinking

that Mr. Alam actually engaged in any research or planning in relation to his alleged

conduct at the Capitol on January 6 or that he ever took any notes about that alleged

conduct or that he ever drew any maps or diagrams of the Capitol and its offices. See

Affidavit at 12-33 (section of Affidavit captioned, “Facts Specific to this Application”).

        5.      When law-enforcement agents executed the warrant to search Mr. Alam’s

motel room and seize and search items located therein, they seized and searched two




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notebooks that were among Mr. Alam’s personal effects in the room. Copies of the

contents of these notebooks have been turned over to Mr. Alam in discovery.

       6.      Nowhere in Attachment B to the search-and seizure warrant were the

agents specifically authorized to seize and search any notebooks that might be found in

Mr. Alam’s motel room.

       7.      The seizure and search of the notebooks was outside the scope of the

search-and-seizure warrant at issue. Accordingly, the contents of the notebooks and any

evidence and information developed from those contents must be suppressed under the

Fourth Amendment. Moreover, even if it could somehow be said that the seizure and

search of the notebooks was within the scope of the warrant, the authorization provided

by the warrant for that seizure and search was not based on probable cause, and

additionally, the agents could not have relied on that authorization in good faith.

Accordingly, even if the seizure and search of the notebooks could somehow be said to

be within the scope of the warrant, the contents of the notebooks and evidence and

information developed from those contents must still be suppressed under the Fourth

Amendment.


                                      DISCUSSION

       It is a “basic principle of Fourth Amendment law that searches and seizures inside

a home without a warrant are presumptively unreasonable.” Groh v. Ramirez, 540 U.S.

551, 559 (2004). Moreover, “[n]o less than a tenant of a house…, a guest in a hotel

room is entitled to constitutional protection against unreasonable searches and seizures.

Stoner v. California, 376 U.S. 483, 490 (1964) (internal citations omitted) (holding that



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warrantless search of hotel room violated the Fourth Amendment). To comport with the

Fourth Amendment, search-and-seizure warrants must be based upon a showing of

probable cause. See Nathanson v. United States, 291 U.S. 41, 46 (1933). An affidavit

submitted to obtain a search-and-seizure warrant will be said to make out probable cause

where it shows that “there is a fair probability that contraband or evidence of a crime will

be found in [the] particular place [to be searched].” Illinois v. Gates, 462 U.S. 213, 238

(1983). It should be noted that the simple fact that there is probable cause to believe that

a person has committed a crime does not mean that there is probable cause to search his

effects. See Steagald v. United States, 451 U.S. 204, 212-213 (1981); see also United

States v. Griffith, 867 F.3d 1265, 1271 (D.C. Cir. 2017) (“probable cause to arrest a

person will not itself justify a warrant to search his property”).

       The Fourth Amendment’s probable-cause requirement demands that search-and-

seizure warrants particularly describe the place to be searched and the items to be seized.

Groh, 540 U.S. at 568; Warden, Md. Penitentiary v. Hayden, 387 U.S. 294, 307 (1967);

Stanford v. Texas, 379 U.S. 476, 481-85 (1965). The Fourth Amendment’s particularity

requirement is to “ensure that [a] search will be carefully tailored to its justifications, and

will not take the character of the wide-ranging exploratory searches the Framers intended

to prohibit.” Maryland v. Garrison, 480 U.S. 79, 84 (1987). The particularity

requirement “makes general searches… impossible and prevents the seizure of one thing

under a warrant describing another. As to what is to be taken, nothing is to be left to the

discretion of the officer executing the warrant.” Marron v. United States, 275 U.S. 192,

196 (1927). Accordingly, items that are to be seized and searched pursuant to a warrant




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must be described in the warrant itself and not just in the documents submitted to obtain

the warrant. Groh, 540 U.S. at 557 (“The fact that the application adequately described

the ‘things to be seized’ does not save the warrant from its facial invalidity. The Fourth

Amendment by its terms requires particularity in the warrant, not the supporting

documents.”)

       As a general matter, where a search is conducted in violation of the Fourth

Amendment, the fruits of that search must be suppressed. Additionally, evidence and

information developed from those fruits must also be suppressed Taylor v. Alabama, 457

U.S. 687, (1982); United States v. Crews, 445 U.S. 463, 471 (1980); Dunaway v. New

York, 442 U.S. 590 (1975); Brown v. Illinois, 422 U.S. 590 (1975); Wong Sun v. United

States, 371 U.S. 471 (1973). Of course, in a situation involving a search warrant that is

not supported by probable cause, the government can sometimes avoid application of the

exclusionary if it can show that the agents conducting the search nevertheless relied on

the warrant in good-faith. United States v. Leon, 468 U.S. 897 (1984). However, the

government cannot rely on such a good-faith exception “when the affidavit [used to

obtain a warrant] is so lacking in indicia of probable cause that a belief in its existence is

objectively unreasonable.” Leon, 468 U.S. at 914. Additionally, the good-faith

exception does not apply where the judicial officer’s action in authorizing the warrant is a

“mere ratification of the bare conclusions of others." Leon 468 U.S. at 915 (quoting

Aguilar v. Texas, 378 U.S. 108, 114-115 (1964)). Furthermore, “[e]ven if the warrant

application was supported by more than a ‘bare bones’ affidavit, a reviewing court may

properly conclude that, notwithstanding the deference that magistrates deserve, the




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warrant was invalid because the magistrate's probable-cause determination reflected an

improper analysis of the totality of the circumstances.” Leon, 468 U.S at 915 (citing

Gates, 462 U.S. at 238-239). Also, “a warrant may be so facially deficient—i.e., in

failing to particularize the place to be searched or the things to be seized—that the

executing officers cannot reasonably presume it to be valid.” Leon, 468 U.S. at 923.


       A.      The Seizure and Search of the Notebooks was Outside the Scope of the
               Warrant, and Suppression is Therefore Required

       Here, while the affidavit that was submitted in connection with the application for

the warrant at issue did make mention of one “spiral bound notebook” that was observed

by the law-enforcement agents in Mr. Alam’s motel room at the time they arrested him

there, the fact remains that the warrant itself did not authorize the agents executing it to

seize and search any notebooks that might be found in the motel room. Accordingly, the

seizure and search of the two notebooks that were found in the room was outside the

scope of the warrant and must therefore simply be viewed as a warrantless seizure and

search of items found in a location that is akin to a person’s home (a motel room). Such a

seizure and search is, of course, presumptively unreasonable. Thus, the contents of the

notebooks must be suppressed. Additionally, evidence and information developed from

whatever was in the notebooks must also be suppressed.


       B.      Even if the Seizure and Search of the Notebooks is Deemed to be
               Within the Scope of the Warrant, Suppression is Still Required

       It is recognized that, notwithstanding the fact that the warrant did not specifically

authorize the agents executing it to seize and search any notebooks found in Mr. Alam’s




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motel room, the government will still undoubtedly argue that the seizure and search of

the notebooks at issue here was nevertheless within the scope of the warrant. However,

on this point, it must be acknowledged that there is really only one lettered paragraph in

Attachment B to the warrant that the government could possibly try to rely on for making

such an argument—that is, paragraph “d,” which authorized the agents to seize and

search “[e]vidence concerning planning to unlawfully enter the U.S. Capitol, including

any maps or diagrams of the building or its internal offices.” Citing this paragraph, the

government could conceivably try to argue that the notebooks were covered by the

warrant because they might contain planning notes that Mr. Alam might have made in

regards to entering the Capitol on January 6 or maps or diagrams that he made in

preparation for such entry. However, before explaining why the government cannot rely

on paragraph “d” to justify the seizure and search of the notebooks at issue here, it is

perhaps worthwhile to point out how none of the other lettered paragraphs in Attachment

B could possibly justify the seizure and search of the notebooks.

       In Attachment B, paragraph “a” authorized the agents to seize and search “[i]tems

of clothing or objects that could associate Mr. Alam with the events of January 6.”

Paragraph “b” authorized them to seize and search “[a]ny mobile phones.” Paragraph “c”

authorized to seize and search “[a]ny laptop computer.” And paragraph “e” authorized

them to seize and search “[e]vidence concerning unlawful entry into the U.S. Capitol,

including any property of the U.S. Capitol.” It seems patently obvious that the notebooks

at issue here are simply not covered by paragraphs “a,” “b,” “c,” and “e.” Moreover, as

for paragraphs “f” through “n,” these paragraphs do not reference any specific items but




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rather only general categories of “[e]vdience” concerning events at the Capitol on

January 6. Thus, to the extent it might be said that these paragraphs authorized the

seizure and search of the notebooks, such authorization would be facially invalid. As

already stated, supra at 5-6, to comport with the Fourth Amendment, a warrant must state

with particularity the items to be seized and searched and not leave the decision as to

what is to be seized and searched up to the discretion of the officers executing the

warrant. It cannot be credibly claimed that a blanket authorization to seize and search

items based on the executing officers’ determination that the items could fall under

general categories of “[e]vidence” concerning events at the Capitol on January 6

comports with the Fourth Amendment’s particularity requirement. Nor can it be credibly

claimed that, given the facial deficiency of such an authorization, the agents executing

the warrant at issue here could have reasonably presumed that such an authorization

allowed them to seize and search the notebooks.

       Given the above, it must be acknowledged that paragraph “d” of Attachment B is

the only paragraph that the government could possibly cite in support of any argument

that the seizure and search of the notebooks at issue here came within the scope of the

warrant. However, to the extent the government would cite paragraph “d” to justify the

agents’ seizure and search of the notebooks, the argument would fail. This is because the

affidavit that was submitted with the application for the warrant provides no information

to indicate that, prior to entering the Capitol of January 6, Mr. Alam ever took any notes

or drew and maps or diagrams of the Capitol and its offices. Indeed, the affidavit does

not provide any specific information to show that Mr. Alam ever even performed any




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pre-planning at all in regards to the conduct he is alleged to have engaged in on January

6. To be sure, the affiant does indicate that, “based on my training and experience, as

well as the investigation in dozens of other cases relating to the intrusion into the U.S.

Capitol and rioting outside of it, I know that individuals like Alam take notes about the

research, planning, and implementation of their crimes.” However, using such a

sweeping and completely unsupported generalization about what other people have

purportedly been known to do as a basis for showing what Mr. Alam might have done

can hardly be said to provide a particularized reason for establishing that Mr. Alam

probably took notes in regards to the crimes he is alleged to have committed in

connection with the events of January 6 so as to justify the seizure and search of any

notebooks he might have on the belief that they might contain such notes. Additionally,

given that the authorization provided by paragraph “d” to seize and search the notebooks

was based on an affidavit that was so “bare bones” and lacking in indicia of probable

cause in regards to establishing that any notebooks that might be in Mr. Alam’s motel

room would contain notes about his research, planning, and implementation of the crimes

he is alleged to have committed, it cannot be credibly claimed that it was objectively

reasonable for the agents executing the warrant to have relied on that authorization to

seize and search the notebooks. See Griffith, 867 F.3d at 1278 (the Leon good-faith

exception did not apply where law-enforcement agents executed a search warrant at the

defendant’s residence for any phone he might have but the affidavit that was submitted

with the application for the warrant provided no specific information to indicate that

incriminating information would be found on any such phone).




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       For the above reasons, to the extent it could be said that the seizure and search of

the notebooks found in Mr. Alam’s motel room did fall within the scope of the warrant at

issue here, that seizure and search was still not based on a proper showing of probable

cause, and additionally, the law-enforcement agents executing the warrant could not have

relied on it in good faith. Thus, even if the seizure and search of the notebooks was

within the scope of the warrant, the contents of the notebooks must still be suppressed.


                                     CONCLUSION

       WHEREFORE, the defendant, Zachary Alam, moves this Honorable Court to

suppress the contents of the notebooks that were seized in his motel room and then

searched and any evidence and information derived from the contents of those notebooks.


                                             Respectfully submitted,

                                             ____/s/___________
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